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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 22-cv-81294 AMC

  Donald J. Trump,
        Plaintiff

  vs.

  United States of America,
        Defendant.
  __________________________________/

                               NOTICE OF CHANGE OF ADDRESS

         Attorney Lindsey Halligan files this Notice of Change of Address in the above-captioned

  case. All future pleadings, memoranda, correspondence, orders, etc., shall be sent to:

         Address:        Attn: Lindsey Halligan
                         511 SE 5th Avenue
                         Fort Lauderdale, Florida 33301
                         lindseyhalligan@outlook.com


                                         Certificate of Service

         I hereby certify that a true and correct copy of the Notice of Change of Address was

  furnished via electronic filing to all counsel of record.


  Dated: August 25, 2022                         Respectfully submitted,

                                                  /s/ Lindsey Halligan
                                                 Lindsey Halligan
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                                                 Counsel for Donald J. Trump
